      Case 1:09-cv-00022 Document 92 Filed on 09/14/18 in TXSD Page 1 of 1
                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                         September 14, 2018
                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS                       David J. Bradley, Clerk

                         BROWNSVILLE DIVISION

RUBEN GUTIERREZ,                          §
                                          §
         Petitioner,                      §
VS.                                       §   CIVIL NO. 1:09-CV-00022
                                          §
LORIE DAVIS,                              §
                                          §
         Respondent.                      §


                                      ORDER
       The Court is in receipt of Respondent Lorie Davis’ Unopposed Motion to
Strike and, Alternatively, Response to Federal Defender’s Advisory. Dkt. No. 61.
The Western District of Texas Capital Habeas Unit that filed the advisory (Dkt. No.
60) is not a party, has not been designated as a next friend to Petitioner Ruben
Gutierrez, and has not sought leave to intervene in this lawsuit.
       The Court, therefore, GRANTS Respondent’s unopposed motion to strike.
The Clerk will STRIKE Docket Entry No. 60 from the record.
       The Court DIRECTS the Clerk of the Court to send a copy of this Order to
Gutierrez by overnight delivery.


SIGNED this 14th day of September, 2018.


                                          ___________________________________
                                          Hilda Tagle
                                          Senior United States District Judge




1/1
